        Case 1:06-cr-00313-DAD Document 389 Filed 12/15/09 Page 1 of 2


1    David V. Balakian, SBN 166749
     BALAKIAN LAW OFFICES
2    2014 Tulare Street, Suite 210
     Fresno, CA 93721
3    Tel. (559) 495-1558
     Fax. (559) 495-1004
4    davidbalakian@sbcglobal.net.net
5    Attorney for Defendant, SAROM SAO
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8
                               UNITED STATES DISTRICT COURT
9
                               EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,)           Case No. 1:06 CR 00313 LJO
                              )
13                            )
                Plaintiff,    )           STIPULATION AND ORDER
14                            )           DENYING CONTINUANCE
            vs.               )
15                            )
     SAROM SAO,               )
16                            )
                Defendant.    )
17                            )
18
            THE PARTIES HEREBY STIPULATE AND AGREE that the sentencing
19
     hearing presently set for Friday, December 18, 2009, at 9:00 a.m.,
20
     be continued to Friday, February 19, 2010, at 9:00 a.m.
21
            Pursuant to Federal Rules of Criminal Procedure section 18
22
     U.S.C. 3161, the parties agree that any delay resulting from this
23
     continuance shall be excluded in the interest of justice.
24
25
     Dated: December 14, 2009.                 /s/ DAVID BALAKIAN
26                                             David Balakian,
                                               Attorney for Defendant,
27                                             SAROM SAO
28
       Case 1:06-cr-00313-DAD Document 389 Filed 12/15/09 Page 2 of 2


1    Dated: December 14, 2009.                 /s/ KATHLEEN SERVATIUS
                                               Kathleen Servatius,
2                                              Assistant U.S. Attorney.
3                                              Stipulation has been agreed to
                                               by Ms. Servatius.
4
5
                                        ORDER
6
     A STIPULATION, WITHOUT STATED REASON, DOES NOT PROVIDE THE
7
     COURT WITH THE LEGALLY-REQUIRED GOOD CAUSE TO CONTINUE A
8
     HEARING.     THE REQUEST IS DENIED.
9
     IT IS SO ORDERED.
10
     Dated:   December 15, 2009           /s/ Lawrence J. O'Neill
11   b9ed48                           UNITED STATES DISTRICT JUDGE
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